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                 UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF COLUMBIA


NEW MEXICO CATTLE GROWERS’
ASSOCIATION,

                                  Plaintiff,   No. 1:21-cv-3263-EGS

  v.

UNITED STATES FISH AND WILDLIFE
SERVICE, et al.,

                       Federal Defendants,

CENTER FOR BIOLOGICAL DIVERSITY,
MARICOPA AUDUBON SOCIETY.

                     Defendant-Intervenors.



PLAINTIFF’S STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF
MOTION TO COMPEL COMPLETION OF THE ADMINISTRATIVE RECORD
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                                        INTRODUCTION

       Pursuant to Federal Rule of Civil Procedure 7(b), LCvR 7, and this Court’s May 6, 2022,

Minute Order, Plaintiff New Mexico Cattle Growers’ Association (“Cattle Growers”) respectfully

moves this Court to compel completion of the administrative record with two documents. The

documents are (1) Email from Gjon Hazard, Fish & Wildlife Biologist, U.S. Fish & Wildlife Serv.,

to Angela Picco, et al. (May 9, 2017, 5:04 PM) (the “Hazard Email”), attached as Exhibit D to the

Declaration of Damien M. Schiff (“Schiff Decl.”); and (2) Email from Greg Beatty, Fish &

Wildlife Biologist, U.S. Fish & Wildlife Serv., to Gjon Hazard, et al. (May 15, 2017, 11:15 AM)

(the “Beatty Email”), attached as Exhibit E to Schiff Decl. (together, the “Emails”).

       This case challenges the legality of the United States Fish and Wildlife Service’s denial of

Cattle Growers’ petition to remove the southwestern willow flycatcher from the federal list of

threatened and endangered species and the Service’s listing of the southwestern willow flycatcher

as an endangered “subspecies” pursuant to the Endangered Species Act. The Emails are part of the

administrative record and should be included and reviewed in this case because they were

considered by the Service when it denied the petition, see infra Arg. Section I.A., and they enjoy

no privilege against inclusion in the record, see infra Arg. Section I.B.

       Pursuant to LCvR 7(m), counsel for Cattle Growers contacted counsel for the Service and

Defendant-Intervenors Center for Biological Diversity and Maricopa Audubon Society (the

“Intervenors”) to solicit the parties’ positions on this motion. Counsel for the Service indicated

that the Service opposes this motion. The Defendant-Intervenors take no position.




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                                        BACKGROUND

I.     The Southwestern Willow Flycatcher’s Listing as an Endangered “Subspecies,”
       Zink (2015), Cattle Growers’ Petition, and Zink (2016/2017) 1

         To receive the substantial protections afforded by the Endangered Species Act, a

“species” must be determined to be “endangered” or “threatened,” based on certain factors. See 16

U.S.C. § 1533(a). While the ESA defines “species,” it does not define the term “subspecies.” See

id. § 1532. The Service has never promulgated a rule defining the term “subspecies.” ECF No. 1,

¶¶ 29–30; ECF No. 10, ¶¶ 29–30.

         The Service considers the southwestern willow flycatcher (Empidonax trailli extimus) to

be an endangered subspecies of the widely distributed willow flycatcher (Empidonax trailli). 60

Fed. Reg. 10,694 (Feb. 27, 1995). The validity of that subspecies designation was challenged by

Dr. Robert Zink and colleagues in a 2015 study that reanalyzed much of the research on which the

flycatcher’s subspecies designation had been based. See Robert M. Zink, Genetics, Morphology,

and Ecological Niche Modelling Do Not Support the Subspecies Status of the Endangered

Southwestern Willow Flycatcher (Empidonax trailli extimus), 117 The Condor 76 (2015) (Zink

2015), available at FWS020345–FWS020356. 2 Relying in part on this new study, Cattle Growers

in 2015 petitioned the Service to remove the flycatcher from the federal list of threatened and

endangered species. ECF No. 1, ¶ 3 (describing the Petition to Remove the “Southwestern” Willow

Flycatcher Empidonax trailli “extimus” From the List of Endangered Species Under the United



1
 Dr. Zink’s study, Current Topics in Avian Conservation Genetics With Special Reference to the
Southwestern Willow Flycatcher, 9 The Open Ornithology J. 60 (2016), was submitted to the
Service in draft form in 2016 and resubmitted to the Service in 2017 after final publication. Cattle
Growers refers to this study as Zink (2016/2017) in this motion to reflect the submission dates.
2
 Cattle Growers includes citations to the proposed administrative record that was mailed to Cattle
Growers’ counsel by the Service on June 13, 2022, see ECF No. 15. The cited portions of the
proposed administrative record are included in the Appendix to this Motion.

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States Endangered Species Act Due to Significant New Data that Demonstrates Original Error

(hereinafter, the “Petition”)).

          After the Petition was filed, Dr. Zink submitted a draft 2016 follow-up study to the

Service. See FWS000384–FWS000385 (emails between Dr. Robert Zink, Professor, School of

Natural Resources and School of Biological Sciences, University of Nebraska, and Brady McGee,

Fish & Wildlife Biologist, U.S. Fish & Wildlife Serv. (July 1, 2016, and Jan. 5, 2017)). This study

responded to various critiques that other scientists had advanced against Dr. Zink’s 2015 research.

It also contained new information and analysis supporting Dr. Zink’s prior work questioning the

flycatcher’s subspecies designation, as well as highlighting various critical mistakes made in a

leading defense (Theimer et al. (2016)) of the flycatcher’s subspecies designation. See ECF No. 1,

¶ 63; see also Current Topics in Avian Conservation Genetics With Special Reference to the

Southwestern Willow Flycatcher, 9 The Open Ornithology J. 60 (2016) (Zink (2016/2017)),

available at FWS020357–FWS020366. A final published version of Zink (2016/2017) was

submitted to the Service on January 5, 2017. See FWS000384–FWS000385.

II.     The Petition Denial and Counsel’s FOIA Request

          Although the Service made an initial determination that the Petition presented substantial

information indicating that delisting of the flycatcher may be warranted because of taxonomic

error, see 81 Fed. Reg. 14,058, 14,070 (Mar. 16, 2016), the agency ultimately denied the Petition

on the merits and reaffirmed its previous determination that the southwestern willow flycatcher is

a subspecies. See 82 Fed. Reg. 61,725 (Dec. 29, 2017).

          In the Final Rule denying the Petition, the Service assessed several studies. However, the

Service refused to engage with Zink (2016/2017) because, according to the agency, the study

contained “no new data.” FWS000791. The Service did not, however, explain how that could be



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so in light of the undisputedly new material—including phylogenetic and statistical analyses—that

appear only in Zink (2016/2017), see FWS020357–FWS020366, and that were designed in part to

respond to critiques of Zink (2015). Cf. FWS000791.

            Following the Petition denial, counsel for Cattle Growers submitted a request to the

Service pursuant to the Freedom of Information Act (FOIA). That FOIA request asked for “the

disclosure of all documents relied on, directly or indirectly, by the Service as part of its decision

to deny the flycatcher delisting petition, 82 Fed. Reg. 61,725 (Dec. 29, 2017), including all written

communications and memoranda.” See Schiff Decl. ¶¶ 3–4 and Exh. A thereto. The Service

responded by releasing numerous documents, including the Hazard Email and the Beatty Email.

See Schiff Decl. ¶¶ 9–10 and Exhs. D, E, thereto. Although the Service redacted many of the

released documents and withheld others, citing various FOIA disclosure exemptions, it released

the Hazard and Beaty Emails in full and unredacted form. See Schiff Decl. ¶¶ 10 and Exhs. D, E,

thereto.

       These Emails concern Zink (2016/2017). The Hazard Email is from the Service’s avian

expert Gjon Hazard. In the Email, Mr. Hazard states that he reviewed the Service’s proposed

Petition denial and noticed that it did not contain any discussion of Zink (2016/2017). That was a

problem, he thought, because the study was a “rebuttal . . . to the Theimer et al. (2016) critique of

Zink (2015),” which latter studies “play such a central role to the petition and our response.” Exh.

D to Schiff Decl. The Beatty Email is a response from Service official Greg Beatty to Mr. Hazard’s

Email. In that response, Mr. Beatty states that, although “[w]e did reference Zink’s Open

Ornithology letter briefly as something we received and looked at . . . it didn’t provide any new

information.” See Exh. E to Schiff Decl. The response contained within the Beatty Email is

consistent with the conclusion contained in the Final Rule, that because “no new data were



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presented in [Zink (2016/2017)],” the study did not merit any treatment in the Service’s evaluation.

See FWS000791.

III.   Cattle Growers’ Lawsuit

       On December 13, 2021, Cattle Growers filed this lawsuit challenging the Service’s denial

of their Petition to remove the southwestern willow flycatcher from the federal list of threatened

and endangered species. See ECF No. 1. Cattle Growers alleged that, in denying the petition

without articulating any standard or definition for what constitutes an avian subspecies, the

Service’s final rule is arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law, in violation of the Endangered Species Act, 16 U.S.C. §§ 1531–1544, and the

Administrative Procedure Act, 5 U.S.C. §§ 701–706. Cattle Growers further alleged that, by

denying the Petition without meaningfully engaging with the new information presented in Zink

(2016/2017)—and therefore “ignor[ing] evidence contradicting its position”—the Service violated

the fundamental administrative law principle of “substantial evidence,” as well as the ESA’s

requirement that decisions be based on “the best scientific and commercial data available . . . .”

ECF No. 1 at ¶ 89(c) (citing Butte County v. Hogen, 613 F.3d 190, 194 (D.C. Cir. 2010)); 16 U.S.C.

§ 1533(b)(1)(A). In support of this claim, Cattle Growers pointed to the Hazard Email. See Exh.

D to Schiff Decl; ECF No. 1 at ¶ 103.

       On March 7, 2022, the Service answered Cattle Growers’ complaint. See ECF No. 10. In

responding to Cattle Growers’ allegations pertaining to the Service’s treatment of Zink

(2016/2017), the Service reproduced, in relevant part, the Hazard Email. See ECF No. 10, ¶ 103.

The parties then stipulated to a scheduling order for the production of the administrative record

and briefing on summary judgment. ECF No. 11.




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        On April 19, 2022, the Intervenors moved to intervene pursuant to Federal Rule of Civil

Procedure 24(a)(2). ECF No. 13. Cattle Growers and the Service then filed a Joint Motion to

Modify the Scheduling Order to accommodate the Intervenors’ participation. ECF No. 14. This

Court granted both motions on May 5 and May 6, 2022, respectively.

        On June 16, 2022, the Service produced the proposed administrative record. ECF No. 15.

Pursuant to this Court’s scheduling order, between July 15, 2022, and August 3, 2022, the parties

conferred regarding the completeness of the record. See Schiff Decl. ¶¶ 19–23. During those

conferrals, Cattle Growers requested that the record be completed to include three additional

documents. See Schiff Decl. ¶¶ 18–19. These documents were (1) a list of references submitted as

an appendix to Cattle Growers original petition (the “Reference List); (2) the Hazard Email; and

(3) the Beatty Email. See Schiff Decl. ¶ 18. The Service agreed to include the Reference List in

the administrative record. See Schiff Decl. ¶ 20. However, the Service represented that it believes

the Emails are deliberative and pre-decisional, and therefore declined to include them in the

administrative record. See Schiff Decl. ¶ 20. Cattle Growers now respectfully moves pursuant to

Federal Rule of Civil Procedure 7(b), LCvR 7, and this Court’s May 6, 2022, amended scheduling

order, that this Court compel completion of the administrative record with the Hazard Email and

Beatty Email.

                                    STANDARD OF REVIEW

   I.      APA Review and the Administrative Record

        The Administrative Procedure Act (APA) provides that, in reviewing agency conduct, “the

court shall review the whole record or those parts of it cited by a party . . . .” 5 U.S.C. § 706. This

requires the Court to review “the full administrative record that was before the [decisionmaker] at

the time he made his decision.” Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 420



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(1971) (alteration added), abrogated on other grounds by Califano v. Sanders, 430 U.S. 99 (1977).

“To review less than the full administrative record might allow a party to withhold evidence

unfavorable to its case, and so the APA requires review of ‘the whole record.’” Walter O. Boswell

Mem’l Hosp. v. Heckler, 749 F.2d 788, 792 (D.C. Cir. 1984) (quoting 5 U.S.C. § 706)). The full

administrative record “consists of all documents and materials directly or indirectly considered by

agency decision-makers and includes evidence contrary to the agency’s position.” Calloway v.

Harvey, 590 F. Supp. 2d 29, 36 (D.D.C. 2008) (quoting Stainback v. Sec’y of the Navy, 520 F.

Supp. 2d 181, 185 (D.D.C. 2007)).

   II.        Completing the Administrative Record

         Although an agency is presumed to have designated the complete administrative record,

Univ. of Colorado Mem’l Hosp. v. Burwell, 151 F. Supp. 3d 1, 12 (D.D.C. 2015), that presumption

may be overcome. “For a plaintiff to prevail on a motion to complete the record—that is, to add

evidence that is properly part of the record but was excluded—she must only ‘put forth concrete

evidence’ and ‘identify reasonable, non-speculative grounds for [her] belief that the documents

were considered by the agency and not included in the record.” Oceana, Inc. v. Ross, 290 F. Supp.

3d 73, 78–79 (D.D.C. 2018) (quoting Charleston Area Med. Ctr. v. Burwell, 216 F. Supp. 3d 18,

23 (D.D.C. 2016)).

                                          ARGUMENT

   I. The Documents Are Part of the Complete Administrative Record

         A.      The Hazard and Beatty Emails were considered by the Service

         The Hazard and Beatty Emails were “directly or indirectly considered by agency decision-

makers,” see Calloway, 590 F. Supp. 2d at 36, when the Service denied the Petition. Indeed, the

Emails directly “relate to the position of the agency’s own experts,” Kent County, Delaware Levy

Court v. EPA, 963 F.2d 391, 396 (D.C. Cir. 1992), on a key issue raised by Cattle Growers’ Third
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and Fourth Claims for relief—namely, that the Service, by refusing to meaningfully engage with

Zink (2016/2017), failed to consider relevant evidence or to use the best available data. See ECF

No. 1, ¶¶ 95–107.

       That the Emails were considered by the Service in its decision-making is confirmed by the

Service’s handling of the FOIA request. See Exhs. D, E, to Schiff Decl. That request sought only

those documents “relied on, directly or indirectly, by the Service as part of its decision to deny the

flycatcher delisting petition.” See Exh. A to Schiff Decl. The Service’s disclosure of the Emails in

response to this request therefore signals the agency’s acknowledgment that the Emails were

considered and were relevant. Indeed, the Emails themselves establish that they were considered

by the agency. First, the subject lines on the two Emails read “SWFL petition finding comments”

and “WIFL,” self-identifying that the Emails relate to the Petition. See Exhs. D, E, to Schiff Decl.

Second, the body of the Emails discusses the Service’s rationale for denying the Petition, as well

as Mr. Hazard’s critique that Zink (2016/2017) was “not presented in the document,” and “that the

Service should acknowledge and include this document in our evaluation. . . .” See Exhs. D, E, to

Schiff Decl. And third, the Emails were sent by and to the Service’s own wildlife staff, who were

responsible for crafting the Service’s response to the Petition. See Exhs. D, E, to Schiff Decl.

       B.      The Service has waived any deliberative process privilege

       That the Emails represent internal staff communications does not preclude their inclusion

in the administrative record. To be sure, such internal materials may sometimes be subject to the

deliberative process privilege and therefore excluded from the administrative record. See Oceana,

Inc., 290 F. Supp. at 82. However, “the deliberative process is not absolute; it can be waived.” See

UnitedHealthcare Ins. Co. v. Azar, 316 F. Supp. 3d 339, 348 (D.D.C. 2018) (holding that the

deliberative process was waived for documents released in unredacted form to the public). See



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also In re Sealed Case, 121 F.3d 729, 741–42 (D.C. Cir. 1997) (holding that the White House

waived the deliberative process privilege for specific documents when it voluntarily released those

documents to “third parties outside of the White House”).

       Thus, inclusion of documents in the administrative record is warranted where (1) an agency

has waived the deliberative process privilege, and (2) the documents in question otherwise qualify

as part of the administrative record, i.e., they were “considered directly or indirectly” by the

agency. See UnitedHealthcare Ins., 316 F. Supp. 3d at 348–49 (including in the administrative

record documents that were (1) released to the public, and (2) considered by the agency). That

standard is met here. The Service released the Emails through FOIA (and quoted the Hazard Email

in its answer, see ECF No. 10, ¶ 103), thereby making the documents publicly available and

waiving the privilege, see UnitedHealthcare Ins., 316 F. Supp. 3d at 348; and the Emails were

considered by the Service in deciding whether to deny the Petition, see supra Arg. Section I.A.

                                        CONCLUSION

       This Court should grant Cattle Growers’ motion to compel completion of the

administrative record with the Hazard and Beatty Emails.

       DATED: August 17, 2022.




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                                            Respectfully submitted,

                                             /s/Damien M. Schiff
PAIGE E. GILLIARD, Cal. Bar No. 330051       DAMIEN M. SCHIFF, D.D.C. No. CA00045
Of Counsel                                   Email: dschiff@pacificlegal.org
Email: PGilliard@pacificlegal.org            Pacific Legal Foundation
Pacific Legal Foundation                     555 Capitol Mall, Suite 1290
3100 Clarendon Blvd., Suite 610              Sacramento, CA 95814
Arlington, VA 22201                          Telephone: (916) 419-7111
Telephone: (202) 888-6881                    Facsimile: (916) 419-7747
Facsimile: (916) 419-7747
                                             /s/Charles T. Yates
                                             CHARLES T. YATES, Cal. Bar No. 327704
                                             Pro hac vice
                                             Email: cyates@pacificlegal.org
                                             Pacific Legal Foundation
                                             555 Capitol Mall, Suite 1290
                                             Sacramento, CA 95814
                                             Telephone: (916) 419-7111
                                             Facsimile: (916) 419-7747

             Attorneys for Plaintiff New Mexico Cattle Growers’ Association




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                                CERTIFICATE OF SERVICE

       I certify that I electronically filed and served the foregoing with the Clerk of the Court for

the United States District Court for the District of Columbia using the CM/ECF system.

                                                 /s/ Damien M. Schiff
                                                 DAMIEN M. SCHIFF, D.D.C. No. CA00045
                                                 Email: dschiff@pacificlegal.org
                                                 Pacific Legal Foundation
                                                 555 Capitol Mall, Suite 1290
                                                 Sacramento, CA 95814
                                                 Telephone: (916) 419-7111
                                                 Facsimile: (916) 419-7747

                                                 Counsel for Plaintiff




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